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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  SPIRE GLOBAL, INC.,

                                       Plaintiff,
  v.
                                                            C.A. No. 25-cv-00168
  KPLER HOLDING SA,

                                       Defendant.


                 ORDER GRANTING PLAINTIFF’S MOTION TO SEAL

       WHEREAS, on February 12, 2025, Plaintiff Spire Global, Inc. (“Spire”) filed a Motion to

Seal Exhibit A to its Notice of Pending Matters Requiring Judicial Attention on the basis that the

Exhibit contained nonpublic, commercially sensitive, and confidential information;

       WHEREAS, Spire has provided an unredacted copy of Exhibit A and moved, pursuant to

Federal Rule of Civil Procedure 5.2 and Local Rule of Civil Practice and Procedure 5.1.3, for

Exhibit A to be sealed.

       IT IS HEREBY ORDERED that Exhibit A to the Notice of Pending Matters Requiring

Judicial Attention be sealed pursuant to Federal Rule of Civil Procedure 5.2 and Local Rule of

Civil Practice and Procedure 5.1.3, and subject to the submission of a redacted version pursuant to

the Court’s Administrative Procedures Governing Filing and Service by Electronic means within

seven days.



 Dated: February ___
                 13, 2025




                                                                  /s/ Richard G. Andrews
                                                                  __________________________
                                                                      U.S. District Judge
